                                 UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF KENTUCKY
                                      LOUISVILLE DIVISION
                              CIVIL ACTION NO. 3:18-CV-765-DJH-CHL

MARY PATRICIA LEENERTS,                                                                           Plaintiff,

v.

MULTI PACKAGING SOLUTIONS OF KENTUCKY, LLC,                                                     Defendant.

                      REPORT ON TELEPHONIC STATUS CONFERENCE

        The undersigned held a telephonic status conference in this matter on September 17, 2019.

Participating were the following:

        FOR PLAINTIFF:                     None

        FOR DEFENDANT:                     Cynthia L. Effinger

        The Court could not reach counsel for Plaintiff at the scheduled time but proceeded with

the conference as scheduled.1 The Court inquired as to the progress of discovery and counsel for

Defendant represented that discovery was set to close in two weeks, that Plaintiff had not taken

any depositions or served any discovery, and that Defendant had taken Plaintiff’s deposition.

Defendant represented that it anticipated filing a motion for summary judgment at the close of

discovery. The Court inquired as to whether a settlement conference in this matter would be

productive, and counsel for Defendant represented that she did not believe one would be

productive. Accordingly, the Court will not set a settlement conference at this time.



         September 17, 2019




cc: Counsel of record
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1
 The undersigned’s Chambers subsequently received a call from Plaintiff’s counsel regarding the status of the call
during which counsel indicated he had been awaiting the Court’s call.
